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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-556V
                                    Filed: September 26, 2014
                                       (Not to be published)

* * * * * * * * * * * * * * * *
JOEL VESSEY,                  *
                              *                               Ruling on Entitlement; Flu; SIRVA
           Petitioner,        *
                              *
v.                            *
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
           Respondent.        *
                              *
* * * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Tara J. Kilfoyle, United States Department of Justice, Washington, DC, for respondent.

                                RULING ON ENTITLEMENT1

        On June 30, 2014, Joel Vessey (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). The petition
alleges that as a result of receiving an influenza (“flu”) vaccine on October 24, 2011, he suffered
a shoulder injury related to vaccine administration (“SIRVA”). Petition at 1.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On September 26, 2014, respondent filed her Rule 4(c) Report [Respondent’s Report”],
in which she concedes that petitioner is entitled to compensation in this case. Respondent’s
Report at 2. Specifically, respondent concluded that petitioner’s alleged injury is consistent with
SIRVA and that it was caused-in-fact by the flu vaccine that he received on October 24, 2011.
Respondent’s Report at 5. Respondent notes that she did not identify any other causes for
petitioner’s condition, and that based on her review of the medical records, petitioner met the
statutory requirement that he suffered from the condition for more than six months. Id.
Accordingly, “based on the record as it now stands, [respondent concedes that] petitioner has
satisfied all legal prerequisites for compensation under the Act.” Id.

        In light of respondent’s concession and the evidence before me, I find that petitioner
is entitled to compensation.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




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